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     Lead Intelligence, Inc.
 8

 9                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
10

11    Loretta Williams, individually and on behalf
      of all others similarly situated,              Case No. 3:22-cv-03789-SI
12
                                  Plaintiff,         STIPULATION REGARDING BRIEFING
13                                                   SCHEDULE
14    v.
                                                     Judge: Hon. Susan Illston
15    DDR Media, LLC, and Lead Intelligence,
      Inc.
16

17                                Defendants.

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 1            Plaintiff Loretta Williams (“Plaintiff” or “Williams”) and Defendants DDR Media, LLC
 2   (“DDR Media”) and Lead Intelligence, Inc. d/b/a Jornaya (“Jornaya,” and collectively with DDR,
 3   “Defendants”) hereby stipulate as follows:
 4            WHEREAS, Royal Marketing filed a motion to dismiss on April 12, 2023;
 5            WHEREAS, Jornaya filed a motion to dismiss on April 13, 2023;
 6            WHEREAS, the Court granted the motions to dismiss on August 18, 2023, giving Plaintiff
 7   leave to amend; and
 8            WHEREAS, Plaintiff filed a Second Amended Class Action Complaint on September 20,
 9   2023;
10            NOW THEREFORE, the Parties jointly seek the approval of the Court to extend the
11   schedule for Defendants to respond to the Second Amended Class Action Complaint as follows:
12            1.        Defendants shall have until November 3, 2023 to answer or otherwise respond to the
13   Second Amended Class Action Complaint;
14            2.        If Defendants file motions to dismiss the Second Amended Class Action Complaint,
15   Plaintiff shall have until December 3, 2023 to respond to the motion; and
16            3.        Defendants shall have until December 18, 2023 to file a reply in support of any
17   motion to dismiss the Second Amended Class Action Complaint.
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19            IT IS SO STIPULATED.
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                                                     Respectfully submitted,
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22   Dated: October 3, 2023                          LORETTA WILLIAMS, individually and on
                                                     behalf of all others similarly situated,
23

24                                                   By: /s/ Patrick H. Peluso
25
                                                     Rebecca Davis (SBN 271662)
26                                                   rebecca@lozeaudrury.com
                                                     LOZEAU DRURY LLP
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                                           Facsimile: (303) 927-0809
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                                           Counsel for Plaintiffs
11
     Dated: October 3, 2023                LEAD INTELLIGENCE, INC. D/B/A
12                                         JORNAYA
13
                                           By: /s/ Rebecca Harlow
14
                                           Aravind Swaminathan
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     Dated: October 3, 2023                      DDR MEDIA, LLC d/b/a Royal Marketing
 1
                                                 Group
 2
                                                 By: /s/ Joseph A. O’Keefe
 3
                                                 Joseph A. O’Keefe
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 8                                               Counsel for Defendant DDR Media
 9                                               d/b/a Royal Marketing Group

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11          Any Motion to Dismiss the Second Amended Class Action Complaint Hearing will be
     noticed for January 12, 2024 at 10 a.m.
12

13            The Initial Case Management Conference is continued to February 9, 2024.

14            IT IS SO ORDERED.

15    Date: October 4, 2023                       By: _______________________________________
                                                                 Hon. Susan Illston
16                                                            U.S. DISTRICT JUDGE
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 1                                   SIGNATURE CERTIFICATION
 2            Pursuant to Civil L.R. 5-1(i)(3) of the Electronic Case Filing Administrative Policies and
 3   Procedures Manual, I hereby certify that the content of this document is acceptable to counsel for
 4   Defendant and that I have obtained authorization to affix his or her electronic signature to this
 5   document.
 6
                                                   By: /s/ Rebecca Harlow
 7                                                         Rebecca Harlow

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 1                                     CERTIFICATE OF SERVICE
 2            The undersigned hereby certifies that a true and correct copy of the above papers was served
 3   upon counsel of record by filing such papers via the Court’s ECF system on October 3, 2023.
 4

 5                                                 /s/ Rebecca Harlow
 6                                                 Rebecca Harlow
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